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                     IN THE UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION

IN RE: Jeff and Meghan Scharringhausen                )      Case No.
                                                      )
                                                      )
         Plaintiff                                    )      COMPLAINT
                                                      )
                                                      )      Judge:
                                                      )
                                                      )      Magistrate:
v.                                                     )     July Demand Requested
                                                      )
         American Coradius International LLC          )
         2420 Sweet Home Road, Suite 150               )
         Buffalo, NY 14428                            )
                                                      )
         Defendant                                    )

     Now comes Plaintiff, by and through her attorneys, and, for his Complaint alleges as
                                          follows:

                                             INTRODUCTION

                 1. Plaintiffs, Jeff and Meghan Scharringhausen , brings this action to
                     secure redress from unlawful collection practices engaged in by
                     Defendant, American Coradius International, LLC Plaintiff alleges
                     violation of the Fair Debt Collection Practices Act, 15 U.S.C. Section
                     1692 et seq. ("FDCPA").
                 2. The FDCPA broadly prohibits unfair or unconscionable collection
                     methods, conduct which harasses or abuses any debtor, and any
                     false, deceptive or misleading statements in connection with the
                     collection of a debt. 15 U.S.C. Section 1692e and 1692f



                                JURISDICTION AND VENUE
                 3. This court has jurisdiction pursuant to 28 U.S.C. Section 1331, 1337,
                     1367; and 15 U.S.C. section 1692(d).
                 4. Venue is proper because a substantial part of the events giving rise to
                     this claim occurred in this District.
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                             PARTIES
      5. Plaintiffs, American Coradius International, LLC (hereinafter "Plaintiff")
         incurred an obligation to pay money, the primary purpose of which was
         for personal, family, or household uses (the "Debt").
      6. Plaintiff is a resident of the State of Illinois.
      7. Defendant, American Coradius International, LLC. ("Defendant"), is a
         New York business entity with an address of 2420 Sweet Home Road,
         Suite 150, Buffalo, NY 14428 operating as a collection agency, and is
         a "debt collector" as the term is defined by 15 U.S.C. Section 1692a(6).
      8. Unless otherwise stated herein, the term "Defendant" shall refer to
         American Coradius International, LLC.
      9. At some point, the original creditor, transferred this debt to Defendant
         for debt collection.


                                    ALLEGATIONS


      10. The Plaintiff allegedly incurred a financial obligation in the approximate
         amount of $6000 (the "Debt") to an original creditor (the "Creditor")
      11. The Debt was purchased, assigned or transferred to Defendant for
         collection, or Defendant was employed by the Creditor to collect to
         Debt.
      12. The Defendant attempted to collect the Debt and, as such, engaged in
         "communications" as defined in 15 U.S.C. Section 1692a(2).
      13.0n June 19, 2015, the Plaintiffs converted from a Chapter 13
         Bankruptcy filing to a Chapter 7 Bankruptcy.
      14. After June 19, 2015, Defendant made numerous telephone collection
         calls to the Plaintiff.
      15.ln several of these phone calls, Plaintiff told them about the Bankruptcy
         Conversion, yet the collection phone calls would continue.
VIOLATIONS OF THE FDCPA-15 U.S.C. SECTION 1692, et seq.
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      16. The Plaintiff incorporates by reference all of the above paragraphs of
         this Complaint as though fully stated herein.
      17. The Defendant's conduct violated 15 U.S.C. Section 1692e in thatit
         used false, deceptive, or misleading representation or means in
         connection with the collection of debt.
      18. Plaintiff is entitled to damages as a result of Defendants' violations.
                                   JURY DEMAND
      19. Plaintiff demands a trial by jury.
                                   PRAYER FOR RELIEF
      20. Plaintiff demands the following relief:
      WHEREFORE, the Court should enter Judgment in favor of Plaintiff and
      against Defendant for:
                   (1) Statutory damages;

                    (2) Attorney fees, litigation expenses and costs of suit; and

                    (3) Such other and further relief as the Court deems proper.

                                                    Respectfully submitted,

                                               /s/ John Carlin
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